Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Regge. dudtheSchanges with Asterisks (*))
AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet |

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
V.
RALPH RANDOLPH Case Number: 3:14-083

USM Number: 71823-0067

Date of Original Judgment: Carl Poveromo, Esq.
(Or Date of Last Amended Judgment) Defendant’s Attorney
Reason for Amendment:
CO Correction of Sentence on Remand (18 U.S.C. 3742()(1) and (2)) CJ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
(] Reduction of Sentence for Changed Circumstances (Fed. R. Crim. (J Modification of Imposed Term of Imprisonment for Extraordinary and
P. 35(b)) Compelling Reasons (18 U.S.C. § 3582(c)(1))
[] Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a)) J Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
C1 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

[] Direct Motion to District Court Pursuant O 28 U'S.C. § 2255 or
(J 18 U.S.C. § 3559(c)(7)

wt Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
pleaded guilty to count(s) _1 and 2 of the Information

(J pleaded nolo contendere to count(s)
which was accepted by the court.

[1] was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
A831 ( In U
18:472 and 2 Uttering Counterfeit Obligations of the United States

Ra

aK

‘The defendant is sentenced as prov ed in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

(] The defendant has been found not guilty on count(s)

[J] Count(s) (J is {_jare dismissed on the motion of the United States.

_., It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in ene circumstances.

712412014
Date of I igh of Judgment

LM

Signdfure of Judge
Malachy E. nion, United States District Judge
Name of Judge Title of Judge

2- 26-5

Date

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 2 of 8
AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 2 (NOTE: Identify Changes with Asterisks (*))

_ 2 8
DEFENDANT: RALPH RANDOLPH Judgment — Page of
CASE NUMBER: 3:14-083

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of

Ten (10) Months. This term consists of ten (10) months on each of Counts 1 and 2, to be served concurrently.

[] The court makes the following recommendations to the Bureau of Prisons:

(] The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shall surrender to the United States Marshal for this district:
O at Oo am (1 p.m. on
C asnotified by the United States Marshal.

CJ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

(1 before 2 p.m. on

(1 as notified by the United States Marshal.
[J asnotified by the Probation or Pretrial Services Office.

{1 The defendant is to contact the United States Marshal's Office no later than three days prior to the above date to be notified of the
place of confinement. RETURN

I have executed this judgment as follows:

Defendant delivered on to

at with a certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL

‘ltbiarmcid ace orce

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 3 of 8
AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 3 (NOTE: Identify Changes with Asterisks (*))

3 oof 8

DEFENDANT: RALPH RANDOLPH Judgment—Page
CASE NUMBER: 3:14-083

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of

Two (2) Years. This term consists of two (2) years on each of Counts 1 and 2, to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
(]_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)
uw The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
uf The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

CJ The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

[1] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

_, The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court,

13) _ asdirected by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
defendant’s compliance with such notification requirement, and

14) the defendant shall notify the court of any material change in the defendant's economic circumstances that might affect the
defendant's ability to pay restitution, fines, or special assessments.

AO MSC IR Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 4of8
. 4/2013- P. i imi -
ev. 3-MD/PA) Amended Judgment in a Criminal Case-Sheet 3A (NOTE: Identify Changes with Asterisks (*))

DEFENDANT: RALPH RANDOLPH Judgment—Page __4 of 8

CASE NUMBER: 3:14-083

ADDITIONAL SUPERVISED RELEASE TERMS

1) The defendant shall cooperate in the collection of a DNA sample as directed by the probation officer, unless a sample
was collected during imprisonment;

2) The defendant shall submit to one drug test within 15 days of commencing supervision and at least two periodic drug
tests thereafter for use of a controlled substance;

3) The defendant shall undergo a substance abuse evaluation and, if recommended, the defendant shail satisfactorily
complete a program of outpatient or inpatient substance abuse treatment;

4) The defendant shall undergo a mental health evaluation and, if recommended, the defendant shail satisfactorily
complete a program of outpatient or inpatient mental health treatment:

5) The defendant shail not incur new credit charges or open additional lines of credit without the approval of the probation
officer unless the defendant is in compliance with the installment schedule for payment of restitution, fines, or special
assessment;

6) The defendant shall provide the probation officer access to any requested financial information; and

7) The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or other
anticipated or unexpected financial gains to the outstanding court ordered financial obligation.

You can appeal your conviction if you believe that your guilty plea was somehow unlawful or involuntary, or if there is some
other fundamental defect in the proceedings that was not waived by your guilty plea. You also have a statutory right to
appeal your sentence under certain circumstances, particularly if you think the sentence is contrary to law. With few
exceptions, any notice of appeal must be filed within 14 days after sentence is imposed on you.

If you are unable to pay the cost of an appeal, you may apply for leave to appeal in forma pauperis. If you so request, the
Clerk of the Court will prepare and file a notice of appeal on your behalf.”

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 5 of 8

AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 3D

Judgment — Page 5 of 8

DEFENDANT: RALPH RANDOLPH
CASE NUMBER: 3:14-083

Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision, (2) extend
the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

Signed: Date:
Defendant

Signed: Date:
U.S. Probation Officer/Designated Witness

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 6 of 8
AO 245C (Rev, 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 5 (NOTE: Identify Changes with Asterisks (*))

DEFENDANT: RALPH RANDOLPH Judgment — Page __6 _of 8

CASE NUMBER: 3:14-083
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200.00 $ $ 5,600.00

[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.

L] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Nam

f Payee

fe

Total Loss* Restitution Ordere Priority or Percentage

Home Depot, Westfield, MA
. He sae bee

hoe3 Sa oe
Home Depot, Hadley, MA

eek es Se
as

Target, Hadley, MA

$500.00

TOTALS $ 5,600.00 $

[J Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

uw The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
wh the interest requirement is waived for [[] fine yw restitution.

(1 the interest requirement for C] fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 7 of 8

AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 5A (NOTE: Identify Changes with Asterisks (*))

7
DEFENDANT: RALPH RANDOLPH Judgment—Page of 8

CASE NUMBER: 3:14-083

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

The Court finds that the defendant does not have the ability to pay a fine, but he shall make restitution in the amount of
$5,600, payable to the Clerk, U.S. District Court, for disbursement to the victims identified in the presentence investigation
report. Payment of interest is waived.

During the time of imprisonment, restitution is payable every three months in an amount, after a telephone allowance,
equal to 50% of the funds deposited into the defendant's inmate trust fund account.

in the event the restitution is not paid in full prior to the commencement of supervised release, the defendant shall, as a
condition of supervised release, satisfy the amount due in monthly installments of no less than $50, to commence thirty
(30) days after release from confinement.

Case 3:14-cr-00083-MEM Document 118 Filed 02/26/15 Page 8 of 8

AO 245C (Rev. 4/2013-MD/PA) Amended Judgment in a Criminal Case-Sheet 6 (NOTE: Identify Changes with Asterisks (*))

_ 8 8
DEFENDANT: RALPH RANDOLPH Judgment — Page of
CASE NUMBER: 3:14-083

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A wh Lump sum payment of $ _200.00 due immediately, balance due
(snot later than , Or
(J) inaccordance with (] C, (J D, [J E,or’ [JF below; or
[] Payment to begin immediately (may be combined with [] C, (1D, or {JF below); or
C (© Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D- [) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [() Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F wh Special instructions regarding the payment of criminal monetary penalties:

See page 6.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CJ Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
corresponding payee, if appropriate.

C1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

[1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

